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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

Case No.        CV 21-5911 MWF (JCx)                                     Date: September 28, 2021
Title       Larry Dunn v. N. Hollywood Vineland Oil, Inc., et al.


Present: The Honorable:       MICHAEL W. FITZGERALD, United States District Judge
                    Rita Sanchez                                       Not Reported
                    Deputy Clerk                                 Court Reporter / Recorder

        Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                 Not Present                                        Not Present

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

      A review of the docket in this action reflects that the Complaint was filed on
July 21, 2021. (Docket No. 1). Pursuant to Federal Rules of Civil Procedure, Rule
4(m), the time to serve the Complaint will expire on October 19, 2021.

      The Court ORDERS Plaintiff to show cause why this action should not be
dismissed for lack of prosecution. In response to this Order to Show Cause, the
Court will accept the following no later than OCTOBER 19, 2021.

         BY PLAINTIFF: PROOFS OF SERVICE of Summons, Complaint, and
          ADA Disability Access Litigation/Application for Stay and Early
          Mediation Packet on Defendants.

       Any request by Plaintiff for an extension of time beyond the time limit set
forth in Fed. R. Civ. P. Rule 4(m) will only be granted upon a showing of good
cause, including, but not limited to, the date service was tendered to a process
server and the date service was first attempted by the process server. Failure
to timely file a Proof of Service, or request an extension of time to do so, will
result in the dismissal of this action on October 20, 2021.

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

Case No.        CV 21-5911 MWF (JCx)                                Date: September 28, 2021
Title       Larry Dunn v. N. Hollywood Vineland Oil, Inc., et al.

         BY DEFENDANTS: RESPONSE TO THE COMPLAINT (“Response”)
          or APPLICATION FOR STAY AND EARLY MEDIATION (“ADA
          Application”) by Defendants who have been served.

      If a Proof of Service requires a Defendant’s future Response or ADA
Application, and if Defendant does not timely file such a Response or ADA
Application, Plaintiff must file an Application to Clerk to Enter Default (“Default
Application”) within five calendar days after that Response or ADA Application
due date. Failure to do so will be deemed abandonment of this action and the
Court will immediately dismiss it for lack of prosecution.

         BY PLAINTIFF: APPLICATIONS FOR CLERK TO ENTER
          DEFAULT for Defendants who have not timely responded to the
          Complaint or filed an ADA Application.

        If a Proof of Service reflects that a Defendant’s time to respond to the
Complaint or file an ADA Application has already expired, Plaintiff must
concurrently file a Default Application with the Proof of Service. Failure to do so
will be deemed abandonment of this action and the Court will immediately dismiss
it for lack of prosecution.

      No oral argument on this matter will be heard unless otherwise ordered by
the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand
submitted upon the filing of the response to the Order to Show Cause. Failure to
respond to the Order to Show Cause will result in the dismissal of this action.

        IT IS SO ORDERED.

                                                                    Initials of Preparer: RS/sjm




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